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                  IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

FELICIA GIBSON                                )
                                              )
      Plaintiff                               )
                                              ) CIVIL ACTION
v.                                            )
                                              ) FILE NO. 5:21-CV-00059-TES
                                              )
STANDARD                                      )
INSURANCE COMPANY                             )
                                              )
      Defendant                               )

                          NOTICE OF SETTLEMENT

      NOW COME plaintiff FELICIA GIBSON and defendant STANDARD

INSURANCE COMPANY, by and through their respective attorneys of record, and

give notice that the parties have reached an agreement to settle this matter. Once the

settlement has been consummated the parties intend to file a stipulation of dismissal

with the Court.

      Respectfully Submitted this 23rd day of November, 2021.




                          [signatures on following page]
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s/Nikole Crow                             s/Heather K. Karrh
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